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 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                       Case No. 1:18-cr-00182-LJO-SKO

12                                  Plaintiff,
                                                      STIPULATION TO INCLUDE
13                                                    COUNSELING PRETRIAL RELEASE
                             v.                       CONDITION RE: DEFENDANT AIDA
14                                                    CORONA; ORDER
      AIDA CORONA,
15
                                   Defendant.
16
17
18           IT IS HEREBY STIPULATED by and between Defendant Aida Corona, through her

19    counsel of record, and McGregor W. Scott, United States Attorney and Laura D. Withers,
      Assistant U.S. Attorney that it would be appropriate to include a condition of mental health
20
      counseling among the defendant’s pretrial release conditions. The Order Setting Conditions
21
      of Release as to this defendant, dated August 14, 2018, does not current include any such
22
      condition and does not permit the Pretrial Services Agency to refer the defendant for mental
23
      health counseling that now appears to be necessary.
24
25
26
27
28 STIPULATION AND ORDER
     Case 1:18-cr-00182-JLT-SKO Document 50 Filed 03/13/19 Page 2 of 2

 1            SO STIPULATED.

 2 Dated: March 13, 2019                          Respectfully submitted,
                                                  McGREGOR W. SCOTT
 3
                                                  United States Attorney
 4
                                           By     /s/ Laura D. Withers
 5                                                LAURA D. WITHERS
                                                  Assistant U.S. Attorney
 6
 7 Dated: March 13, 2019                          /s/ Kevin Little
                                                  KEVIN LITTLE
 8                                                Attorney for Defendant
 9
10
11                                               ORDER
12            Good cause appearing, the conditions of defendant Aida Corona’s pretrial release shall
13 from this date forward include the condition that she participate in mental health counseling
14 as directed by the Pretrial Services Agency.
15
16 IT IS SO ORDERED.
17
     Dated:     March 13, 2019                                    /s/   Sheila K. Oberto               .
18                                                         UNITED STATES MAGISTRATE JUDGE
19
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28
     STIPULATION AND ORDER
                                                     -2-
